Case 1:16-cv-01305-RGA Document 235 Filed 09/13/19 Page 1 of 7 PageID #: 5165



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

WYETH LLC, WYETH                                   )
PHARMACEUTICALS LLC, PF PRISM                      )
C.V., PFIZER PHARMACEUTICALS LLC                   )
and PFIZER PFE IRELAND                             )
PHARMACEUTICALS HOLDING 1 B.V.                     )
                                                   )
                      Plaintiffs,                  )
                                                   )
              v.                                   ) C.A. No. 16-1305 (RGA)
                                                   ) CONSOLIDATED
ALEMBIC PHARMACEUTICALS, LTD.,                     )
ALEMBIC PHARMACEUTICALS, INC. ,                    )
SUN PHARMACEUTICAL INDUSTRIES                      )
LIMITED and SUN PHARMACEUTICAL                     )
INDUSTRIES, INC.,                                  )
                                                   )
                      Defendants.                  )


      REPLY IN FURTHER SUPPORT OF PLAINTIFFS’ DAUBERT MOTION
  TO EXCLUDE CERTAIN EXPERT TESTIMONY BY CRAIG W. LINDSLEY, PH.D.

       Plaintiffs Wyeth LLC, Wyeth Pharmaceuticals LLC, PF Prism C.V., Pfizer

Pharmaceuticals LLC and Pfizer PFE Ireland Holding 1 B.V. (collectively “Pfizer”) submit this

reply, pursuant to Local Rule 7.1.2 and Paragraph 10(b) of the Scheduling Order (as amended),

in further support of their motion for an order excluding the testimony of defendants’ expert

Craig W. Lindsley, Ph.D., with respect to whether Pfizer was diligent in reducing to practice the

inventions claimed in the ’148 and ’625 patents.

       Defendants’ submission in opposition does nothing more than insist broadly that

Dr. Lindsley is an experienced medicinal chemist familiar with “industry practices,” whose

opinion “fits” the issue of reasonable diligence and will somehow assist the Court in assessing

whether the inventors named on the ’148 and ’625 patents were diligent in reducing their

inventions to practice. However, having been afforded an opportunity to explain what
Case 1:16-cv-01305-RGA Document 235 Filed 09/13/19 Page 2 of 7 PageID #: 5166



Dr. Lindsley can contribute, defendants point to nothing in particular he will say at trial on the

subject of diligence that will in any way aid the Court in making a determination. Defendants do

not deny that Dr. Lindsley has no particular experience or expertise evaluating diligence in

reduction to practice.

        The cases that defendants cite do not justify Dr. Lindsley providing a conclusory opinion

at trial as to whether the inventors were diligent. In Golden Bridge Tech., Inc. v. Apple Inc.,

2013 WL 1431652, *2 (D. Del. 2013), the court permitted expert testimony regarding what is

described only as “engineering diligence” and “attorney diligence,” which testimony had been

challenged on the grounds that “those activities were not directed to reducing the invention to

practice.” The court’s opinion provides no specifics regarding the expert’s testimony and thus

sheds no light on the propriety of Dr. Lindsley’s proposed testimony here.1

        In EMC Corp. v. Pure Storage, 154 F. Supp. 3d 81, 105 (D. Del. 2016), the expert

(Jestice) testified “that all limitations of the . . . patent’s asserted claims [were] disclosed” in the

document reflecting prior conception. This Court stated: “The documentary evidence and Mr.

Jestice’s expert opinions are consistent with [the inventors’] testimony. Thus, analyzing all of

the pertinent evidence of prior conception, I conclude that EMC has satisfied its burden of

production. Pure does not offer evidence inconsistent with EMC’s claim to the earlier date of

conception.” Id. at 106 (citations omitted). There is no indication that the expert testified to

whether the inventors were reasonably diligent.2



1
  Defendants fail to mention that the court in Golden Bridge granted a Daubert motion to exclude
the expert testimony of a patent attorney regarding “attorney diligence.” 2013 WL 1431652
at *2.
2
  Contrary to Defendants’ description, this Court, in EMC, did not “affirm[] [a] finding of
diligence.” (D.I. 233 at 6). The Court merely denied a motion for summary judgment of
invalidity, ruling that the issues of conception and reduction to practice were for a jury to decide.
115 F. Supp. 3d at 106.


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Case 1:16-cv-01305-RGA Document 235 Filed 09/13/19 Page 3 of 7 PageID #: 5167



       In Fairchild Semiconductor Corp. v. Power Integrations, Inc., 100 F. Supp. 3d 357, 369-

70 (D. Del. 2015), the experts apparently testified regarding technical details of what the

inventors’ laboratory notebooks did and did not show regarding the effort to reduce the invention

to practice. Here, by contrast, Dr. Lindsley is not being asked to explain what the records reveal

about the inventors’ work. Rather, he is to opine on whether the facts, as presented, constitute

diligence. Such testimony would be improper.

       Finally, there is no merit to defendants’ argument that barring Dr. Lindsley’s testimony

would leave them “effectively unable as a matter of law to present evidence addressing

reasonable diligence.” (D.I. 233 at 6). Defendants deposed multiple Pfizer witnesses involved in

the development of the claimed inventions.           Thus, at trial, defendants will have ample

opportunity to present evidence in opposition to plaintiffs’ showing of diligence, in the form of

deposition testimony and cross-examination of plaintiffs’ testifying witnesses. In any event, the

problem here lies with Dr. Lindsley providing a purportedly expert opinion as to whether the

evidence regarding Pfizer’s development effort reflects diligence or not. The fact that, as

defendants argue, they “were not privy to the steps Plaintiffs took in reducing to practice” the

claimed inventions (id. at 6-7), is not a justification for allowing improper expert opinion.3




3
  Defendants err in asserting that “[r]easonable diligence is a question of law.” (D.I. 233 at 5). In
REG Synthetic Fuels, LLC v. Neste Oil Oyj, 841 F.3d 954, 958 (Fed. Cir. 2016), which
defendants cite, the court stated that “[p]riority of invention and its constituent issues of
conception and reduction to practice are questions of law predicated on subsidiary factual
findings.” Defendants evidently confuse conception and reduction to practice with reasonable
diligence, which is a question of fact. Brown v. Barbacid, 436 F.3d 1376, 1379 (Fed. Cir. 2006)
(“The question of reasonable diligence is one of fact.”); see also Perfect Surgical Techniques,
Inc. v. Olympus America, Inc., 841 F.3d 1004, 1008 (Fed. Cir. 2016) (“[t]he issue of reasonable
diligence turns on the factual record”).


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Case 1:16-cv-01305-RGA Document 235 Filed 09/13/19 Page 4 of 7 PageID #: 5168



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September 13, 2019




                                      4
Case 1:16-cv-01305-RGA Document 235 Filed 09/13/19 Page 5 of 7 PageID #: 5169



                                CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2019, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

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Case 1:16-cv-01305-RGA Document 235 Filed 09/13/19 Page 6 of 7 PageID #: 5170



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Case 1:16-cv-01305-RGA Document 235 Filed 09/13/19 Page 7 of 7 PageID #: 5171



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